          Case 1:17-cr-00201-ABJ Document 75 Filed 12/05/17 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.

 RICHARD W. GATES III,                     Crim. No. 17-201-2 (ABJ)


               Defendant



 NOTICE OF DEVELOPMENT RELATED TO THE GOVERNMENT’S MOTION TO
           REVIEW REPRESENTATION OF DEFENDANT GATES

       The United States of America, by and through Special Counsel Robert S. Mueller III, writes

to: (1) notify the Court of an additional development with respect to the government’s motion

requesting that the Court review the propriety of attorney Walter Mack’s representation of

defendant Richard W. Gates III in light of a potential conflict of interest, ECF #52; and (2) to

briefly reply to the defendant’s filing of December 1, 2017, see ECF#71.

       As defendant Gates informed this Court, on December 4, 2017, the district court in the

Southern District of New York (Hon. Kimba M. Wood) conducted a Curcio hearing with respect

to defendant Steven Brown in United States v. Brown, No. 16-cr-436. See ECF #74. The

government was awaiting a copy of the transcript from that matter prior to notifying this Court.

We have now obtained a copy of that transcript, which is attached hereto as Exhibit A. The

transcript reflects that Judge Wood (1) asked the complete set of questions proposed by the

government here, Exh. A at 6-15, rather than the truncated version suggested by Gates, see ECF#71

at 4-5; and (2) determined that Brown was sufficiently apprised of the relevant issues to make a

knowing waiver of any potential conflict, Exh. A at 15
          Case 1:17-cr-00201-ABJ Document 75 Filed 12/05/17 Page 2 of 3



        Second, in his response, Gates offers no good reason that this Court should refrain from

conducting a similar inquiry in his case. In its motion, the government sought not to intrude into

the attorney-client relationship but to provide the facts necessary for this Court to understand the

nature of the potential conflict so that a meaningful waiver of the right to conflict-free counsel can

be obtained from the defendant. Cf. United States v. McKeighan, 685 F.3d 956, 967 (10th Cir.)

(explaining how “[t]he prosecution’s duty to disclose defense counsel’s potential or actual

conflicts of interest facilitates the administration of justice”), cert. denied, 568 U.S. 1019 (2012).

        Gates’s cited cases also do not counsel against a Curcio hearing here. See ECF#71 at 3.

He purports to quote United States v. Levy, 25 F.3d 146, 153 (2d Cir. 1994), for the proposition

that a court’s “duty ceases” if it is “satisfied at the inquiry stage that there is no actual conflict or

potential for one to develop.” The quoted language, however, comes not from Levy but from

United States v. Cain, 671 F.3d 271, 293 (2d Cir. 2012), a case in which the court had no need to

conduct a Curcio hearing because it determined that defense counsel’s role as a potential witness

against his client constituted an unwaivable conflict, id. at 295 & n.11. In any event, Levy provides

no support for Gates’s position. The court there reaffirmed that a Curcio proceeding is warranted

when the facts developed during the court’s initial inquiry indicate, as is true in this case, “at least

potential conflicts of interest.” 25 F.3d at 154-55. The unpublished decision in United States v.

Velez, No. 03-cr-385, 2006 WL 2621077 (S.D.N.Y. 2006), is similarly inapposite. It involved not

(as here) a potential conflict arising from an attorney’s representation of two clients with possibly

divergent interests, but a judge’s decision to dispense with a Curcio hearing when neither party




                                                   2
          Case 1:17-cr-00201-ABJ Document 75 Filed 12/05/17 Page 3 of 3



believed that the court-appointed attorney who replaced previous defense counsel was operating

under a conflict of interest.

                                                  Respectfully submitted,

                                                  ROBERT S. MUELLER III
                                                  Special Counsel

Dated: December 5, 2017                    By:    /s/ Greg Andres__________
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